             17-12845-smb               Doc 1         Filed 10/11/17           Entered 10/11/17 17:08:32                      Main Document 10/11/17 5:05PM
                                                                              Pg 1 of 19
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                         Chapter you are filing under:
                                                                                  Chapter 7

                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                        Check if this an
                                                                                                                                    amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Albert
     your government-issued        First name                                                        First name
     picture identification (for
     example, your driver's        M.
     license or passport).         Middle name                                                       Middle name
     Bring your picture
     identification to your
                                   Lefkovits
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                          Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1764
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                               page 1
             17-12845-smb            Doc 1         Filed 10/11/17           Entered 10/11/17 17:08:32                   Main Document 10/11/17 5:05PM
                                                                           Pg 2 of 19
Debtor 1   Albert M. Lefkovits                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 945 Fifth Avenue
                                 New York, NY 10021
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 New York
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 1040 Park Avenue
                                 Apartments 1B and 1C
                                 New York, NY 10028
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
             17-12845-smb            Doc 1          Filed 10/11/17             Entered 10/11/17 17:08:32                    Main Document 10/11/17 5:05PM
                                                                              Pg 3 of 19
Debtor 1    Albert M. Lefkovits                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
             17-12845-smb              Doc 1        Filed 10/11/17          Entered 10/11/17 17:08:32                       Main Document 10/11/17 5:05PM
                                                                           Pg 4 of 19
Debtor 1    Albert M. Lefkovits                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
             17-12845-smb                Doc 1       Filed 10/11/17            Entered 10/11/17 17:08:32                 Main Document 10/11/17 5:05PM
                                                                              Pg 5 of 19
Debtor 1    Albert M. Lefkovits                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
             17-12845-smb                Doc 1        Filed 10/11/17         Entered 10/11/17 17:08:32                       Main Document 10/11/17 5:05PM
                                                                            Pg 6 of 19
Debtor 1    Albert M. Lefkovits                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do         16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                  16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                  16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under             No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that            Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                     No
     are paid that funds will
     be available for                            Yes
     distribution to unsecured
     creditors?

18. How many Creditors do            1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                             5001-10,000                                   50,001-100,000
    owe?                             50-99
                                     100-199                                          10,001-25,000                                 More than100,000
                                     200-999

19. How much do you                  $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to          $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                         $10,000,001 - $50 million
                                     $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                  $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                            $10,000,001 - $50 million
                                     $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.
                                  /s/ Albert M. Lefkovits
                                  Albert M. Lefkovits                                               Signature of Debtor 2
                                  Signature of Debtor 1

                                  Executed on     October 11, 2017                                  Executed on
                                                  MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
            17-12845-smb              Doc 1           Filed 10/11/17        Entered 10/11/17 17:08:32                       Main Document 10/11/17 5:05PM
                                                                           Pg 7 of 19
Debtor 1   Albert M. Lefkovits                                                                             Case number (if known)




For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one               under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by    and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need     schedules filed with the petition is incorrect.
to file this page.
                                 /s/ Abraham Backenroth                                             Date         October 11, 2017
                                 Signature of Attorney for Debtor                                                MM / DD / YYYY

                                 Abraham Backenroth
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     (212) 593-1100                             Email address

                                 1989
                                 Bar number & State




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              17-12845-smb                 Doc 1         Filed 10/11/17              Entered 10/11/17 17:08:32                             Main Document 10/11/17 5:05PM
                                                                                    Pg 8 of 19

 Fill in this information to identify your case:

 Debtor 1                     Albert M. Lefkovits
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF NEW YORK

 Case number
 (if known)                                                                                                                                        Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                  Unsecured claim
 1                                                                   What is the nature of the claim?              Credit Card                    $ $5,393.00
              Capital One
              Attn: Bankruptcy                                       As of the date you file, the claim is: Check all that apply
              Po Box 30253                                                   Contingent
              Salt Lake City, UT 84130                                       Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?                                             $ $6,603.00
              Chase Credit
                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17              Entered 10/11/17 17:08:32                             Main Document 10/11/17 5:05PM
                                                                                    Pg 9 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)




 3                                                                   What is the nature of the claim?                                             $ $13,343.60
            Chase Visa
            PO Box 15123                                             As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19886                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?                                             $ $5,900.00
            Clayman and Rosenberg
            60 East 42 Street                                        As of the date you file, the claim is: Check all that apply
            Suite 1301                                                       Contingent
            New York, NY 10165                                               Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?                                             $ $874.91
            Cobalt Medical Supply
            PO Box 367                                               As of the date you file, the claim is: Check all that apply
            Pequannock, NJ 07440                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Charge Account                 $ $4,954.00
            Comenitycb/barneys
            Comenity Bank                                            As of the date you file, the claim is: Check all that apply
            Po Box 182125                                                    Contingent
            Columbus, OH 43218                                               Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 2

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17 Entered 10/11/17 17:08:32                                          Main Document 10/11/17 5:05PM
                                                                       Pg 10 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)


                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Accounts                       $ $1,200.00
                                                                                                                   426021071500062 and
                                                                                                                   426021073000020
            Con Edison
            Jaf Station                                              As of the date you file, the claim is: Check all that apply
            POB 1702                                                         Contingent
            New York, NY 10116                                               Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                             $ $8,350.00
            Edward Seigel
                                                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?                                             $ $373.00
            Innovative Risk Concepts
            179 South Maple Avenue                                   As of the date you file, the claim is: Check all that apply
            Ridgewood, NJ 07450                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?                                             $ Unknown
            Internal Revenue Service
            Collection Advisory Group

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 3

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17 Entered 10/11/17 17:08:32                                          Main Document 10/11/17 5:05PM
                                                                       Pg 11 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)

            Manager                                                  As of the date you file, the claim is: Check all that apply
            290 Broadway, 5th Floor                                          Contingent
            New York, NY 10007                                               Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?                                             $ $11,498.27
            Lumenis Inc.
            2033 Gateway Place                                       As of the date you file, the claim is: Check all that apply
            Suite 200                                                        Contingent
            San Jose, CA 95110                                               Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?                                             $ $2,335.00
            Medical Liability Mutual
            Insurance                                                As of the date you file, the claim is: Check all that apply
            PO Box 7247-7232                                                 Contingent
            Philadelphia, PA 19170-7232                                      Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?                                             $ $1,003.90
            New York State Insurance Fund
            c/o Innovative Risk Concepts,                            As of the date you file, the claim is: Check all that apply
            Inc.                                                             Contingent
            179 South Maple Ave                                              Unliquidated
            Ridgewood, NJ 07450                                              Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 4

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17 Entered 10/11/17 17:08:32                                          Main Document 10/11/17 5:05PM
                                                                       Pg 12 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 14                                                                  What is the nature of the claim?                                             $ Unknown
            NYS DEPT OF TAX AND
            FINANCE                                                  As of the date you file, the claim is: Check all that apply
            Attn: Office of Counsel                                          Contingent
            Building 9, W Harriman Campus                                    Unliquidated
            Albany, NY 12227-0171                                             Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?                                             $ $225.00
            Oxford Benefit Management
            12 Christopher Way                                       As of the date you file, the claim is: Check all that apply
            Suite 104                                                        Contingent
            Eatontown, NJ 07724                                              Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                             $ $836.00
            Pitney Bowes Inc.
            PO Box 856390                                            As of the date you file, the claim is: Check all that apply
            Louisville, KY 40285                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 17                                                                  What is the nature of the claim?                                             $ $720.00
            Stericycle
            c/o ARM Solutions Inc.                                   As of the date you file, the claim is: Check all that apply
            PO Box 3666                                                      Contingent
            Camarillo, CA 93011-3666                                         Unliquidated
                                                                             Disputed
                                                                             None of the above apply




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17 Entered 10/11/17 17:08:32                                          Main Document 10/11/17 5:05PM
                                                                       Pg 13 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?                                             $ $831.42
            Verizon Business
            PO Box 660072                                            As of the date you file, the claim is: Check all that apply
            Dallas, TX 75266                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?                                             $ $19,072.22
            Warshaw Burstein LLP
            555 5th Ave                                              As of the date you file, the claim is: Check all that apply
            New York, NY 10017                                               Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?                                             $ $1,160.00
            Xerox Corporation
            PO Box 827181                                            As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19182                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 6

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
           17-12845-smb                   Doc 1          Filed 10/11/17 Entered 10/11/17 17:08:32                                          Main Document 10/11/17 5:05PM
                                                                       Pg 14 of 19

 Debtor 1          Albert M. Lefkovits                                                              Case number (if known)

 X     /s/ Albert M. Lefkovits                                                          X
       Albert M. Lefkovits                                                                  Signature of Debtor 2
       Signature of Debtor 1


       Date      October 11, 2017                                                           Date




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 7

Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
    17-12845-smb   Doc 1   Filed 10/11/17 Entered 10/11/17 17:08:32   Main Document
                                         Pg 15 of 19

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           Capital One
                           Attn: Bankruptcy
                           Po Box 30253
                           Salt Lake City, UT 84130
17-12845-smb   Doc 1   Filed 10/11/17 Entered 10/11/17 17:08:32   Main Document
                                     Pg 16 of 19


                       Chase Credit



                       Chase Visa
                       PO Box 15123
                       Wilmington, DE 19886


                       Citibank/Exxon Mobile
                       Citicorp Cr Srvs/Centralized Bankruptcy
                       Po Box 790040
                       S Louis, MO 63129


                       Clayman and Rosenberg
                       60 East 42 Street
                       Suite 1301
                       New York, NY 10165


                       Cobalt Medical Supply
                       PO Box 367
                       Pequannock, NJ 07440


                       Comenitycb/barneys
                       Comenity Bank
                       Po Box 182125
                       Columbus, OH 43218


                       Con   Edison
                       Jaf   Station
                       POB   1702
                       New   York, NY 10116


                       Edward Seigel



                       Etactics



                       Innovative Risk Concepts
                       179 South Maple Avenue
                       Ridgewood, NJ 07450


                       Internal Revenue Service
                       Collection Advisory Group Manager
                       290 Broadway, 5th Floor
                       New York, NY 10007
17-12845-smb   Doc 1   Filed 10/11/17 Entered 10/11/17 17:08:32   Main Document
                                     Pg 17 of 19


                       Lumenis Inc.
                       2033 Gateway Place
                       Suite 200
                       San Jose, CA 95110


                       Lumenis Inc.
                       1870 South Milestone Drive
                       Salt Lake City, UT 84104


                       Medical Liability Mutual Insurance
                       PO Box 7247-7232
                       Philadelphia, PA 19170-7232


                       New York City Department of Finance
                       100 Church Street
                       New York, NY 10007


                       New York State Insurance Fund
                       c/o Innovative Risk Concepts, Inc.
                       179 South Maple Ave
                       Ridgewood, NJ 07450


                       Nixon Uniform Service



                       NY Department of Labor Counsel's Office
                       W.A, Harriman State Office Building 12
                       Room 509
                       Albany, NY 12240


                       NYS DEPT OF TAX AND FINANCE
                       Attn: Office of Counsel
                       Building 9, W Harriman Campus
                       Albany, NY 12227-0171


                       Oxford Benefit Management
                       12 Christopher Way
                       Suite 104
                       Eatontown, NJ 07724


                       Park-86 Apt. Corp.
                       c/o Insignia Residential Group, Inc.
                       675 Third Avenue
                       Attn General Counsel
                       New York, NY 10017
17-12845-smb   Doc 1   Filed 10/11/17 Entered 10/11/17 17:08:32   Main Document
                                     Pg 18 of 19


                       Pitney Bowes Inc.
                       PO Box 856390
                       Louisville, KY 40285


                       Rudin Management Co Inc.
                       NY



                       Signature Bank
                       565 Fifth Avenue
                       12th Floor
                       New York, NY 10017


                       Stericycle
                       c/o ARM Solutions Inc.
                       PO Box 3666
                       Camarillo, CA 93011-3666


                       Sylvie Khorenian, M.D.
                       c/o Sylvie D. Khorenian, MD. P.C.
                       630 East Palisade Avenue
                       Englewood Cliffs, NJ 07632


                       T.W. Smith Corporation
                       885 Meeker Avenue
                       Brooklyn, NY 11222


                       Verizon
                       POB 15124
                       Albany, NY 12212


                       Verizon Business
                       PO Box 660072
                       Dallas, TX 75266


                       Warshaw Burstein LLP
                       555 5th Ave
                       New York, NY 10017


                       Westerman Ball Ederer Miller Zucker etal
                       Attnys for Signature Bank/Secured Party
                       Philip J. Campisi, Jr., Esq.
                       1201 R.XR Plaza
                       Uniondale, NY 11556
17-12845-smb   Doc 1   Filed 10/11/17 Entered 10/11/17 17:08:32   Main Document
                                     Pg 19 of 19


                       Xerox Corporation
                       PO Box 827181
                       Philadelphia, PA 19182
